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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA                            §
                                                     §   CASE NO. 4:23-cr-218
 vs.                                                 §
                                                     §
 (1) HARDIK JAYANTILAL PATEL,
                                                     §
     aka Erik aka Mitesh aka Nick aka Dev, and
                                                     §
 (2) DHIRENKUMAR VISHNUBHAI PATEL,                   §
                                                     §
                Defendants.                          §

                                            ORDER

       IT IS the Order of this Court that the Government’s Motion to Unseal is granted. The

indictment and other documents filed in this case are unsealed.

       Signed in Houston, Texas, on this ___________ day of August, 2023.



                                             _________________________________________
                                             Hon. Charles R. Eskridge III
                                             United States District Judge




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